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                       EXHIBIT 2
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Reg. No. 6,358,553             SEGA Games Co., Ltd. (JAPAN CORPORATION)
                               Sumitomo Fudosan Osaki Garden Tower,
Registered May 25, 2021        1-1-1 Nishi-shinagawa, Shinagawa-ku Toky
Int. Cl.: 9                    JAPAN
                               CLASS 9: Recorded videotapes and videodiscs featuring animation, action, adventure
Trademark                      and comedy films; downloadable films and movies featuring animation, action,
Principal Register             adventure and comedy provided via a video-on-demand service; motion picture films
                               featuring animation, action, adventure and comedy; downloadable graphics for
                               computers, video game machines and mobile phones featuring scenes and characters
                               based on animated cartoons, computer games and video games; electronic publications,
                               namely, downloadable electronic books and magazines in the field of motion pictures,
                               cartoons, music, computer games and video games; phonograph records featuring
                               music; downloadable music files via a global computer network and wireless devices;
                               recorded compact discs featuring music, video game sounds and dialogues; compact
                               discs, prerecorded audio tapes, and downloadable files featuring musical sound
                               recordings; mobile phone straps; protective cases for cell phones; downloadable
                               computer game programs; recorded computer game programs; downloadable computer
                               game software; recorded computer game software; downloadable video game software;
                               recorded video game software; downloadable video game programs; recorded video
                               game programs; video game discs and cartridges; downloadable computer game
                               software for use on mobile and cellular phones

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                               ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                               OWNER OF INTERNATIONAL REGISTRATION 1547982 DATED 02-13-2020,
                               EXPIRES 02-13-2030

                               SER. NO. 79-292,700, FILED 02-13-2020
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,024,565           KABUSHIKI KAISHA SEGA             Games d/b/a SEGA Games Co., Ltd. (JAPAN
                             CORPORATION)
Registered Aug. 23, 2016     1-2-12, Haneda,
                             Ohta-ku Tokyo 144-8531
Int. Cl.: 9, 41              JAPAN

                             CLASS 9: Computer game programs; computer game software; computer game software for
Service Mark                 use on mobile and cellular phones; mobile phone straps; protective cases for cell phones

Trademark                    CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                             computer games; providing information on on-line games; providing amusement facilities
Principal Register
                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             PRIORITY DATE OF 02-06-2015 IS CLAIMED

                             OWNER OF INTERNATIONAL REGISTRATION 1270869 DATED 08-05-2015,
                             EXPIRES 08-05-2025

                             SER. NO. 79-175,116, FILED 08-05-2015
                             CHRISTINA SOBRAL, EXAMINING ATTORNEY
 Case: 1:24-cv-05162 Document #: 1-2 Filed: 06/20/24 Page 10 of 40 PageID #:213



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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       Case: 1:24-cv-05162 Document #: 1-2 Filed: 06/20/24 Page 11 of 40 PageID #:214




Reg. No. 5,268,608          SEGA Games Co., Ltd. (JAPAN CORPORATION)
                            1-2-12, Haneda,
Registered Aug. 22, 2017    Ota-ku Tokyo
                            JAPAN
Int. Cl.: 9, 41             CLASS 9: Computer game programs; computer game software; video game software; video
                            game programs; video game discs and video game cartridges; computer game software for
Service Mark                use on mobile and cellular phones; mobile phone straps; protective cases for cell phones;
                            downloadable graphics, images and moving images for computers, video game machines or
Trademark                   mobile phones featuring scenes and characters based on computer and video games;
                            downloadable computer and video game software; downloadable music files via a global
Principal Register          computer network and wireless devices; sound recorded compact discs featuring music, video
                            game sounds and dialogues; musical sound recordings; prerecorded video discs and tapes
                            featuring music, comedy, drama, action, adventure and animation; electronic publications,
                            namely, downloadable books and magazine s in the field of computer games, video games,
                            cartoons and music; phonograph records featuring music

                            CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                            computer games; providing entertainment information on on-line games; providing non-
                            downloadable on-line graphics, moving images and images featuring scenes and characters
                            based on computer and video games by computer networks, video game machines or mobile
                            phones; providing amusement facilities; providing amusement arcade services; providing
                            amusement parks; organization, production and presentation of video and computer game
                            contests and tournaments; providing entertainment information about amusement facilities;
                            providing on-line music, not downloadable

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF INTERNATIONAL REGISTRATION 1340714 DATED 01-23-2017,
                            EXPIRES 01-23-2027

                            SER. NO. 79-205,732, FILED 01-23-2017
                            PATRICIA MALES EVANKO, EXAMINING ATTORNEY
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,619,845             SEGA GAMES CO., LTD. (JAPAN CORPORATION)
                               Sumitomo Fudosan Osaki Garden Tower
Registered Dec. 04, 2018       1-1-1 Nishi-shinagawa
                               Shinagawa-ku, Tokyo, JAPAN
Int. Cl.: 9, 16, 18, 20, 21,   CLASS 9: Computer game programs for home video consoles; electronic circuits, magnetic
24, 28, 30, 32, 41             computer tapes and disks, optical disks, ROM cartridges and other recording media, namely,
                               computer cartridges and computer cassettes, all containing video game programs for use with
Service Mark                   home video game consoles; electronic circuits, magnetic computer tapes and disks, optical
                               disks, ROM cartridges and other recording media, namely, computer cartridges and computer
Trademark                      cassettes, all containing video game programs for use with hand-held games with liquid
                               crystal displays; video game software for home video game consoles; telecommunication
                               machines and apparatus, namely, cellular phones and mobile phones; straps for mobile
Principal Register             phones; computers; computer game programs; electronic circuits, magnetic computer tapes
                               and disks, optical disks, ROM cartridges containing computer game programs; computer
                               software for children's education; computer application software for mobile phones, namely,
                               game software; computer game software; computer software for computer system
                               management; computer programs for arcade video game machines; electronic circuits,
                               magnetic computer tapes and disks, optical disks, ROM cartridges and other recording media,
                               namely, computer cartridges and cassettes, all containing video game programs for use with
                               arcade video game machines; game software for arcade video game machines; video game
                               program; video game software; phonograph records featuring music; downloadable music
                               files; downloadable music files for mobile telephones and tablet computers; recorded compact
                               discs featuring music, animated cartoons; downloadable image files in the field of computer
                               games, video games and animated cartoons; downloadable image files, namely, downloadable
                               moving image files for mobile terminals, in the field of computer games, video games and
                               animated cartoons; recorded video discs and video tapes featuring movies, cartoons, video
                               games; videotapes and videodiscs recorded with animation; downloadable electronic
                               publications, namely, books, comic books, magazines and manuals featuring computer
                               games, video games and animated cartoons

                               CLASS 16: Pastes and other adhesives for stationery or household purposes; hygienic hand
                               towels of paper, namely, wet tissue; paper towels; table napkins of paper; hand towels of
                               paper; handkerchiefs of paper; stationery; seals; stickers; printed matter, namely, comic
                               books, video game instruction manuals, children's books, children's activity books,
                               songbooks, children's magazines, magazines and pamphlets featuring information and articles
                               about fashion and games; pictorial prints; picture books; catalogues in the field of computer
                               games, video games and animated cartoons; calendars; trading cards; paintings and
                               calligraphic works; printed photographs; photograph stands

                               CLASS 18: Clothing for domestic pets; bags, namely, athletic bags, all-purpose sports bags
                               and beach bags; pouches, namely, felt pouches, leather pouches and key pouches; Boston
                               bags; rucksacks; card cases, namely, credit card cases, name card cases and game card cases;
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                     key cases; purses; commutation-ticket holders, namely, wallets, document cases, ticket
                     pouches; business card cases; unfitted vanity cases sold empty; umbrellas and their parts;
                     walking sticks; canes; metal parts of canes and walking-sticks; walking cane handles and
                     walking stick handles; saddlery

                     CLASS 20: Non-metal locks; cushions; Japanese floor cushions (zabuton); pillows;
                     mattresses; nameplates and door nameplates, not of metal; hand-held flat fans; hand-held
                     folding fans; furniture; wind chimes; plastic keychains with a small doll attached; plastic key
                     tags with a small doll attached

                     CLASS 21: Plastic handheld shopping baskets; cosmetic and toilet utensils; toothbrushes; hair
                     brushes; toilet cases, namely, toilet brush holder; kitchen utensils, namely, batter dispenser,
                     grill covers, barbeque branders and grates; kitchen containers, namely, kitchen containers,
                     containers for household or kitchen user of precious metal and non-electric kitchen containers
                     not made of precious metal; non-electric cooking pots and pans; non-electric coffee-pots;
                     Japanese cast iron kettles, non-electric (tetsubin); non-electric kettles; tableware, other than
                     knives, forks and spoons, namely, coffee services, tea services; drinking cups; dishes;
                     Japanese rice bowls (chawan); lunch boxes; Japanese style tea cups (yunomi); Japanese style
                     soup serving bowls (wan); non-electric portable coldboxes; rice chests; food preserving jars
                     of glass; drinking flasks; vacuum bottles; piggy banks

                     CLASS 24: Towels; Japanese cotton towels (tenugui); handkerchiefs; mosquito nets;
                     bedsheets; futon quilts; fitted futon covers not of paper, unfitted futon covers not of paper;
                     quilt covers; futon ticksticks, namely, unstuffed futon covers not of paper; pillowcases;
                     blankets, namely, lap blankets, bed blankets and baby blankets; table napkins of textile; dish
                     cloths; shower curtains; banners and flags of textile; seat covers of textile, namely, fitted toilet
                     seat covers of textile, unfitted seat covers of textile; wall hangings of textile; curtains; table
                     cloths not of paper; draperies in the nature of thick drop curtains

                     CLASS 28: Lottery tickets; amusement game machines and apparatus, namely, coin-operated
                     amusement machines for use in amusement parks; arcade video game machines other than for
                     use with television receivers; coin, card or counter operated electronic arcade-type video
                     games and amusement apparatus adapted for use with an external display screen or monitor,
                     amusement apparatus incorporating a video monitor; arcade medal redemption game
                     machines, namely, arcade redemption game machines which dispenses tickets or the like to
                     successful players; arcade ticket redemption game machines, namely, arcade redemption
                     game machines which dispenses tickets or the like to successful players; arcade game
                     machines other than for use with television receivers; coin, card or counter operated
                     electronic arcade-type video games and amusement apparatus, namely, amusement apparatus
                     adapted for use with an external display screen or monitor; fairground ride apparatus, namely,
                     amusement park rides; home video game machines; hand-held games with liquid crystal
                     displays; toys, namely, rubber character toys, plastic character toys, wooden character toys,
                     electronic character toys, educational character toys, party favors in the nature of small toys;
                     squeeze toys; dolls; stuffed toys; action figures; puzzles; jigsaw puzzles; cards, namely, game
                     cards; trading card games; go games; Japanese playing cards, namely, utagaruta; Japanese
                     chess (shogi games); dice; Japanese dice games (sugoroku); dice cups; Chinese checkers as
                     games; chess games; checkers; checker sets; conjuring apparatus, namely, magic tricks;
                     dominoes; playing cards; Japanese playing cards (hanafuda); mah-jong; game machines and
                     apparatus, namely, coin-operated video games; billiard equipment; darts equipment, namely,
                     darts, dart shafts, dart boards; digital darts equipment, namely, electronic dart game; slot
                     machines; sports equipment, namely, baseball bats, baseball gloves and baseball batting
                     helmets, soccer balls, basketballs, hockey skates, skis

                     CLASS 30: Tea; coffee; cocoa; confectionery, namely, confectionery made of sugar,
                     confectionery, namely, pastilles, fondants, fruit jellies candy, chocolate, popcorn and chewing
                     gum; bread and buns; sandwiches; steamed buns stuffed with minced meat (niku-manjuh);
                     hamburger sandwiches; pizzas; hot dog sandwiches; meat pies; ice cream; pasta, macaroni,
                     oatmeal, flakes, namely, corn flakes, oat flakes, maize flakes; pastry; bread; Chinese stuffed
                     dumplings (gyoza, cooked); Chinese steamed dumplings (shumai, cooked); sushi; fried balls
                     of batter mix with small pieces of octopus, namely, takoyaki; boxed lunches consisting
                     primarily of rice, with added meat, fish or vegetables; ravioli; instant confectionery mixes,
                     namely, instant pudding mix, cake mixes, sherbet mixes and ice cream mixes; crepes; pasta



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                     sauce; biscuits; cookies

                     CLASS 32: Carbonated drinks, namely, carbonated soft drinks; fruit juices; vegetable juices;
                     whey beverages

                     CLASS 41: Providing non-downloadable electronic publications in the nature of magazines,
                     newsletters, picture books and comic books in the field of computer games, video games and
                     animated cartoons; services of reference libraries for literature and documentary records;
                     book rental; providing on-line electronic publications via internet or database including
                     websites in the nature of magazines, news letters, picture books and comic books in the field
                     of computer games, video games and animated cartoons; planning or arrangement of showing
                     movies, live show performances, plays or musical performances; movie showing, movie film
                     production, or movie film distribution; providing on-line images, movies, moving images and
                     graphics in the field of computer games, video games and animated cartoons; providing on-
                     line images, movies, moving images and graphics by computer terminals or mobile phones;
                     entertainment in the form of non-downloadable images relating to fictional characters from
                     books, animation, toys and games; direction or presentation of plays; providing on-line music,
                     not downloadable, via computer terminals or mobile phones; organization of game
                     tournaments; entertainment services, namely, providing amusement park rides in the nature of
                     bumper car ride and roller coaster ride; providing amusement facilities; providing amusement
                     arcade services; providing amusement parks; providing on-line video games; providing on-
                     line board games; providing on-line quizzes; providing information relating to on-line
                     computer games; providing on-line computer games; providing information relating to
                     providing on-line computer games; providing information, in websites offering on-line video
                     games, consisting of the game scores achieved by players of the games on the website and the
                     rankings of such players based on those scores; production of radio or television programs;
                     television entertainment, namely, a continuing animated cartoons, variety, news, comedy
                     show broadcast over television; production of radio and television programs; radio
                     entertainment, namely, a continuing animated cartoons, variety, news, comedy show
                     broadcast over the radio, radio entertainment production

                     THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                     PARTICULAR FONT STYLE, SIZE OR COLOR

                     PRIORITY CLAIMED UNDER SEC. 44(D) ON JAPAN APPLICATION NO. 2014-8398,
                     FILED 02-05-2014, REG. NO. 5767396, DATED 05-29-2015, EXPIRES 05-29-2025

                     OWNER OF U.S. REG. NO. 3986991, 4549050, 3959767

                     SER. NO. 86-355,353, FILED 08-01-2014




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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Requirements in the First Ten Years*
What and When to File:

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     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

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the payment of an additional fee.

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extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
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deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

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USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

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owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 6,187,305           SEGA CORPORATION (JAPAN CORPORATION)
                             Sumitomo Fudosan Osaki Garden Tower,
Registered Nov. 03, 2020     1-1-1 Nishi-shinagawa, Shinagawa-ku, Tokyo
                             JAPAN
Int. Cl.: 9, 41              CLASS 9: Downloadable computer game programs; recorded computer game programs;
                             downloadable computer game software; recorded computer game software; downloadable
Service Mark                 video game software; recorded video game software; downloadable video game programs;
                             recorded video game programs; video game discs and cartridges; downloadable computer
Trademark                    game software for use on mobile and cellular phones; mobile phone straps; protective cases
                             for cell phones; downloadable graphics, images and moving images for computers, video
Principal Register           game machines or mobile phones featuring scenes and characters based on computer and
                             video games; downloadable computer game and video game software; downloadable music
                             files via a global computer network and wireless devices; sound recorded compact discs
                             featuring music, video game sounds and dialogues; compact discs, magnetic tapes, and
                             downloadable files featuring musical sound recordings; prerecorded video discs and tapes
                             featuring music, comedy, drama, action, adventure and animation; electronic publications,
                             namely, downloadable books and magazines in the field of computer games, video games,
                             cartoons and music; phonograph records featuring music

                             CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                             computer games; providing entertainment information on on-line games; providing non-
                             downloadable on-line computer graphics, moving images and images featuring scenes and
                             characters based on computer and video games by computer networks, video game machines
                             or mobile phones; providing amusement facilities; providing amusement arcade services;
                             providing amusement parks; organization, production and presentation of video and computer
                             game contests and tournaments; providing entertainment information about amusement
                             facilities; providing on-line music, not downloadable

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             PRIORITY DATE OF 09-06-2019 IS CLAIMED

                             OWNER OF INTERNATIONAL REGISTRATION 1509379 DATED 09-11-2019,
                             EXPIRES 09-11-2029

                             No claim is made to the exclusive right to use the following apart from the mark as shown:
                             "RACING"

                             SER. NO. 79-276,606, FILED 09-11-2019
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   REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

 WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
        DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
      and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
       the registration will continue in force for the remainder of the ten-year period, calculated from the
       registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
      an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
       §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property
Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
Forms available at http://www.uspto.gov.




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Reg. No. 6,263,485                 SEGA CORPORATION (JAPAN CORPORATION)
                                   Sumitomo Fudosan Osaki Garden Tower,
Registered Feb. 09, 2021           1-1-1 Nishi-shinagawa,shinagawa-ku, Tokyo
Int. Cl.: 9, 16, 25, 28, 30, 32,   JAPAN
41                                 CLASS 9: Downloadable computer game programs; recorded computer game programs;
                                   downloadable computer game software; recorded computer game software;
Service Mark                       downloadable video game software; recorded video game software; downloadable video
                                   game programs; recorded video game programs; video game discs and cartridges;
Trademark                          downloadable computer game software for use on mobile and cellular phones;
                                   downloadable computer game and video game software
Principal Register
                                   CLASS 16: Pastes and other adhesives for stationery or household purposes; hygienic
                                   hand towels of paper; table napkins of paper; hand towels of paper; handkerchiefs of
                                   paper; stationery; stickers; printed matter, namely, comic books, instruction manuals in
                                   the field of computer games and video games, children's books, children's activity
                                   books, songbooks, children's magazines and magazines in the field of computer games,
                                   video games, cartoons and music; picture books, reference books in the field of
                                   computer games, video games, cartoons and music; catalogues in the field of computer
                                   games, video games, cartoons and music; calendars; general feature magazines in the
                                   field of computer games, video games, cartoons and music; books, namely, coloring
                                   books, date books; pamphlets in the field of computer games, video games, cartoons and
                                   music; trading cards other than for games; printed instructional and teaching material in
                                   the field of computer games, video games, cartoons and music; photographs;
                                   photograph stands

                                   CLASS 25: Clothing, namely, t-shirts, shirts, sweaters, sweatshirts, jackets, pajamas,
                                   coats, swimwear, mufflers as neck scarves, gloves, scarves, neck ties, socks, underwear,
                                   pants, jeans, shorts, skirts, underpants, robes; shoes; boots; footwear; beach shoes;
                                   galoshes; half-boots; lace boots; sandals; sneaker; sports shoes; wooden shoes; heels,
                                   namely, high-heel shoes; masquerade costumes; play costumes, namely, costumes for
                                   use in children's dress up play, costumes for use in role-playing games; clothes for
                                   sports, namely, sports jerseys and breeches for sports; boots for sports; headwear,
                                   namely, hats and caps

                                   CLASS 28: Coin-operated video games; arcade game machines; arcade video game
                                   machines; amusement game machines with built-in screens; toy vehicles; dolls; stuffed
                                   toys; toy action figures; trading card games; playing cards; arcade redemption game
                                   machines which dispense tickets or tokens to successful players; arcade crane game
                                   machines which dispense tickets or tokens to successful players; gaming machines,
                                   namely, slot machines

                                   CLASS 30: Tea; prepared coffee and coffee-based beverages; prepared cocoa and
                                   cocoa-based beverages; almond confectionery, namely, almond cookies, chocolate
                                   confectionery, namely, chocolate mousses, chocolate cakes and chocolate chips,
                                   confectionery fondants, namely, rolled fondant, confectionery fruits jellies, namely, fruit
                                   jelly candy, confectionery fruits pastes, namely, fruit paste for flavoring of food, peanut
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                       confectionery, namely, peanut brittle and peanut butter confectionery chips, fruits-based
                       confectionery, namely, fruit coulis, fruit turnovers and fruit cobblers; bread and buns;
                       sandwiches; hamburgers sandwiches; pizzas; hot dog sandwiches; meat pies; ice cream;
                       preparations made from cereals, namely, cereal-based snack bars; sushi; ravioli; instant
                       confectionery mixes, namely, cappuccino mixes, hot chocolate mixes and biscuit mixes;
                       crepes; pasta sauce; biscuits; cookies

                       CLASS 32: Beer; fruit-flavored carbonated drinks; fruit juices; vegetable juices;
                       extracts of hops for making beer; whey beverages

                       CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                       computer games; organization, production and presentation of video and computer game
                       contests and tournaments

                       THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                       ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                       PRIORITY DATE OF 08-22-2019 IS CLAIMED

                       OWNER OF INTERNATIONAL REGISTRATION 1530584 DATED 12-11-2019,
                       EXPIRES 12-11-2029

                       No claim is made to the exclusive right to use the following apart from the mark as
                       shown: "RACING" FOR CLASSES 9, 16, 25, 28, 41 ONLY

                       SER. NO. 79-285,476, FILED 12-11-2019




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Digitally signed by United States Patent and Trademark Office
Location: United States Patent and Trademark Office
Date: 2023.03.05 02:06:29 -05'00'




      Reg. No. 7,002,602                                        SEGA CORPORATION (JAPAN CORPORATION)
                                                                Sumitomo Fudosan Osaki Garden Tower, 1-1
      Registered Mar. 21, 2023                                  Nishi-Shinagawa, Shinagawa-ku Tokyo 141-
      Int. Cl.: 9, 16, 18, 25, 28, 30,                          JAPAN
      41                                                        CLASS 9: Downloadable computer game programs; recorded computer game programs;
                                                                downloadable computer game software; recorded computer game software;
      Service Mark                                              downloadable video game software; recorded video game software; downloadable video
                                                                game programs; recorded video game programs; video game discs and cartridges;
      Trademark                                                 downloadable computer game software for use on mobile and cellular phones; mobile
                                                                phone straps; protective cases for cell phones; downloadable graphics, images, and
      Principal Register                                        video recordings for computers, video game machines and mobile phones featuring
                                                                scenes and characters based on computer and video games; downloadable computer
                                                                game and video game software; downloadable music files via a global computer
                                                                network and wireless devices; sound recordings recorded on compact discs featuring
                                                                music, video game sounds and dialogues; prerecorded compact discs, magnetic audio
                                                                tapes, and downloadable files featuring music; prerecorded video discs and magnetic
                                                                audio tapes featuring music, comedy, drama, action, adventure and animation;
                                                                electronic publications, namely, downloadable books and magazines in the field of
                                                                computer games, video games, cartoons and music; phonograph records featuring
                                                                music; animated cartoons, namely, videotapes and videodiscs recorded with animation;
                                                                downloadable electronic publications in the nature of books, manuals, catalogs,
                                                                pamphlets, and magazines in the field of computer games, video games, cartoons and
                                                                music; pedometers; scales; bathroom scales

                                                                CLASS 16: Pastes and other adhesives for stationery or household purposes; hygienic
                                                                hand towels of paper; towels of paper; table napkins of paper; hand towels of paper;
                                                                handkerchiefs of paper; stationery; seals being stationery; stickers being stationery;
                                                                blank notepads; decorative stickers for portable game machines; printed instruction
                                                                manuals in the field of computer games, video games, cartoons and music; printed
                                                                picture books; printed reference books in the field of computer games, video games,
                                                                cartoons and music; printed catalogues in the field of computer games, video games,
                                                                cartoons and music; printed calendars; printed magazine publications in the field of
                                                                computer games, video games, cartoons and music; printed books in the field of
                                                                computer games, video games, cartoons and music; printed pamphlets in the field of
                                                                computer games, video games, cartoons and music; printed trading cards, other than for
                                                                games; printed game hint books and manuals; printed photographs; photograph stands

                                                                CLASS 18: Clothing for domestic pets; bags, namely, carry-on bags; shoulder bags;
                                                                school bags; traveling bags; pouches of leather; boston bags; rucksacks; key cases;
                                                                wallets; credit card cases; vanity cases, not fitted; umbrellas and their parts; walking
                                                                sticks; canes; metal parts of canes and walking-sticks; handles for canes and walking-
                                                                sticks; saddlery

                                                                CLASS 25: Clothing, namely, t-shirts, shirts, sweaters, sweatshirts, jackets, pajamas,
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                       coats, swimwear, mufflers, gloves, scarves, neck ties, socks, underwear, pants, jeans,
                       shorts, skirts, underpants, robes; footwear; beach shoes; boots; galoshes; half-boots; lace
                       boots; sandals; sneakers; shoes; sports shoes; wooden shoes; high-heeled shoes;
                       masquerade costumes; play costumes¿ namely, costumes for use in children's dress up
                       play, costumes for use in role-playing games; clothes for sports namely, sports jerseys
                       and breeches for sports; boots for sports; headwear, namely hats and caps

                       CLASS 28: Toy vehicles; dolls; plush dolls; stuffed toys; toy action figures; toy for
                       pets; toy jewelry; bath toys; electronic action toys; plastic character toys; children's
                       educational toys for developing cognitive skills; construction toys; puzzles; children's
                       multiple activity toys; toy building sets comprised of toy building blocks; novelty toy
                       face masks; trading card games; playing cards; coin-operated video games; arcade game
                       machines; arcade video game machines; amusement game machines with built-in
                       screens; arcade redemption game machines which dispense tickets or tokens to
                       successful players; arcade crane game machines which dispense tickets or tokens to
                       successful players

                       CLASS 30: Tea; prepared coffee and coffee-based beverages; prepared cocoa and
                       cocoa-based beverages; almond confectionery, namely, cookies; chocolate
                       confectionery; confectionery fondants; confectionery fruit jellies, namely, fruit jelly
                       candy; confectionery fruit pastes for flavouring of food; peanut confectionery, namely,
                       peanut brittle and peanut butter confectionery chips; fruit-based confectionery, namely,
                       hollow candy forms filled with fruit; bread and buns; sandwiches; steamed buns stuffed
                       with minced meat; hamburger sandwiches; pizzas; hot dog sandwiches; meat pies; ice
                       cream; cereal preparations¿, namely, cereal-based snack bars; Chinese stuffed
                       dumplings; Chinese steamed dumplings; sushi; pre-packaged boxed lunches consisting
                       of rice, with added meat, fish or vegetables; ravioli; instant confectionery mixes¿,
                       namely, cappuccino mixes, hot chocolate mixes, cocoa mixes, cake mixes, cookie
                       mixes, pastry mixes, crepe mixes, mixes for bakery goods, biscuit mixes, instant
                       pudding mixes, mixes for candy making, frosting mixes, frozen yogurt mixes, pre-
                       processed mixes for making non-dairy frozen confections; crepes; pasta sauce; biscuits;
                       cookies

                       CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                       computer games; providing information on on-line games; providing non-downloadable
                       on-line computer graphics, videos and images featuring scenes and characters based on
                       computer and video games by computer networks, video game machines or mobile
                       phones; providing amusement facilities; organization, production and presentation of
                       video and computer game events; arranging and conducting of video game and
                       computer game events for entertainment purposes; organization or arrangement of game
                       tournaments; providing information about amusement facilities; providing on-line
                       music, not downloadable; providing electronic publications in the nature of books,
                       manuals, catalogs, pamphlets, and magazines in the field of computer games, video
                       games, cartoons and music; services of reference libraries for literature and
                       documentary records; book rental; planning, management or arrangement of showing
                       movies, theatrical shows, plays or musical performances; providing information relating
                       to planning, management or arrangement of showing movies, theatrical shows, plays or
                       musical performances; movie showing, movie film production, or movie film
                       distribution; providing information relating to providing on-line graphics, movies
                       showing, moving images, images, music and publishing of electronic publications;
                       providing on-line graphics, movies showing, moving images, images, music and text
                       information by computer terminals or mobile phones; providing information relating to
                       providing on-line graphics, movies showing, moving images, images, music and
                       publishing of electronic publications by computer terminals or mobile phones;
                       providing on-line graphic novels, not downloadable, relating to characters of books,
                       animated cartoons, toys, games; images showing; presentation of live show
                       performances; direction or presentation of theatrical plays; presentation of musical
                       performances; on-line presentation of shows, theatrical plays or musical performances;
                       providing information relating to on-line presentation of shows, theatrical plays or




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                       musical performances; provision of shows, theatrical plays or musical performances by
                       computer terminals or mobile phones; providing information relating to provision of
                       shows, theatrical plays or musical performances by computer terminals or mobile
                       phones; production of theatrical shows; production of live theatrical and musical shows;
                       presentation of musical performances, direction or presentation of theatrical plays and
                       presentation of musical performances provided on-line from a computer network;
                       production of moving images and music using the internet via streaming; production of
                       moving images and music relating to animated cartoons using the internet via
                       streaming; on-line production of radio or television programs; production of radio or
                       television programs and production of broadcast programs, using computer graphics;
                       directing of radio and television programs; providing information relating to direction of
                       radio and television programs; organization of sporting events; providing sports
                       information; organization and provision of games and competitions via the internet;
                       organization, arranging and conducting of computer game and video game tournaments;
                       organization, arranging and conducting of photo sessions; providing information
                       relating to sports and sporting events; organizing and conducting of sporting and
                       cultural events; rental of game machines and apparatus; providing exercise facilities;
                       rental of sports equipment; photography

                       THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                       ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                       PRIORITY DATE OF 01-27-2021 IS CLAIMED

                       OWNER OF INTERNATIONAL REGISTRATION 1625114 DATED 05-31-2021,
                       EXPIRES 05-31-2031

                       SER. NO. 79-325,265, FILED 05-31-2021




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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       Case: 1:24-cv-05162 Document #: 1-2 Filed: 06/20/24 Page 31 of 40 PageID #:234




Reg. No. 6,039,333          SEGA Games Co., Ltd. (JAPAN CORPORATION)
                            Sumitomo Fudosan Osaki Garden Tower,
Registered Apr. 28, 2020    1-1-1 Nishi-shinagawa Shinagawa-ku To
                            JAPAN
Int. Cl.: 28                CLASS 28: Coin-operated video games; arcade game machines; arcade video game
                            machines; amusement game machines with built-in screens; toy vehicles; dolls; stuffed toys;
Trademark                   toy action figures; trading card games; playing cards; arcade redemption game machines
                            which dispense tickets or tokens to successful players; arcade crane game machines which
Principal Register          dispense tickets or tokens to successful players; slot machines

                            The mark consists of the wording "SEGA GOODS" in stylized form, with outlining around
                            "SEGA" and outlining forming a rectangle containing the word "GOODS".

                            PRIORITY DATE OF 03-15-2019 IS CLAIMED

                            OWNER OF INTERNATIONAL REGISTRATION 1472790 DATED 03-28-2019,
                            EXPIRES 03-28-2029

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "GOODS"

                            SER. NO. 79-261,198, FILED 03-28-2019
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,700,030       SEGA Games Co., Ltd. (JAPAN CORPORATION)
                         1-2-12, Haneda,
Registered Mar. 19, 2019 Ota-ku, Tokyo
                         JAPAN
Int. Cl.: 9, 41              CLASS 9: Computer game programs; computer game software; video game software; video
                             game programs; video game discs and cartridges; computer game software for use on mobile
Service Mark                 and cellular phones; mobile phone straps; protective cases for cell phones; downloadable
                             graphics, images and moving images for computers, video game machines or mobile phones
Trademark                    featuring scenes and characters based on computer and video games; downloadable computer
                             and video game software; downloadable music files via a global computer network and
Principal Register           wireless devices; sound recorded compact discs featuring music, video game sounds and
                             dialogues; musical sound recordings; prerecorded video discs and tapes featuring music,
                             comedy, drama, action, adventure and animation; electronic publications, namely,
                             downloadable books and magazines in the field of computer games, video games, cartoons
                             and music; phonograph records featuring music

                             CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                             computer games; providing entertainment information on on-line games; providing non-
                             downloadable on-line graphics, moving images and images featuring scenes and characters
                             based on computer and video games by computer networks, video game machines or mobile
                             phones; providing amusement facilities; providing amusement arcade services; providing
                             amusement parks; organization, production and presentation of video and computer game
                             contests and tournaments; providing entertainment information about amusement facilities;
                             providing on-line music, not downloadable

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             PRIORITY DATE OF 07-17-2018 IS CLAIMED

                             OWNER OF INTERNATIONAL REGISTRATION 1430068 DATED 07-19-2018,
                             EXPIRES 07-19-2028

                             SER. NO. 79-243,717, FILED 07-19-2018
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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